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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

    UNITED STATES OF AMERICA
                                              No. 18 CR 681
               v.

    MICHAEL ABRAMSON                          Hon. Virginia M. Kendall

                    GOVERNMENT’S REPLY IN SUPPORT OF
                     CONSOLIDATED MOTIONS IN LIMINE

       The UNITED STATES OF AMERICA, through its attorney JOHN R.

LAUSCH, JR., United States Attorney for the Northern District of Illinois,

respectfully submits the following reply in support of its motion in limine providing

notice to the Court of the government’s intention to ask the Court to treat government

witness Jerilyn Totani as a witness identified with an adverse party and ask limited

leading questions during her direct examination. 1

                                     Background 2

       In his response, defendant does not dispute that Jerilyn Totani is a witness

identified with an adverse party. Nor could he. Defendant and Totani carried on an

extramarital affair for at least two decades and, for approximately twenty-five years

(including up to present), defendant has been the sole provider supporting Totani’s

lavish lifestyle. The evidence of Totani’s complete and utter reliance on defendant



1Defendant does not object to the government’s first and third motions, to recall the case
agent, IRS Special Agent Jason Gibson, and to require advance notice of any missing witness
arguments, respectively. See R. 57 at 1.

2The government incorporates by reference the background section of its motions in limine,
(R. 50), with additional factual information included below.
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throughout her adult life is overwhelming. In addition, the government has set forth

ample evidence of defendant’s attempts to influence Totani’s testimony throughout

the course of the investigation.

       Rather, defendant contends that, by asking leading questions of Totani in a

limited fashion during her direct examination, the government seeks “an

unwarranted strategic advantage at trial.” R. 57 at 2. In reality, the government’s

request comports with the Rules of Evidence and would be an appropriate measure

in light of defendant’s numerous attempts to influence Totani’s testimony and

Totani’s bias towards defendant.

       For the reasons set forth below, if the Court is to make a pretrial determination

on the issue, as defendant requests, the Court should find that Totani is a witness

identified with an adverse party and permit the government to ask leading questions

during portions of Totani’s direct examination.

                                      Argument

I.     Totani is a Witness Identified with an Adverse Party Under Federal
       Rule of Evidence 611(c).

       Defendant’s response does not dispute that Totani is identified with defendant,

acknowledging, by way of significant understatement, that “Mr. Abramson and Ms.

Totani have close ties . . . .” See R. 57 at 2. As discussed in the government’s motion,

(R. 50 at 8), courts interpreting Rule 611(c) have determined that a witness

“identified with an adverse party” includes employees (defendant purports that

Totani was an independent contractor for Eastern Advisors earning hundreds of

thousands of dollars of payments booked as commissions), friends (as discussed in the

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government’s motion, defendant moved to modify his conditions of release to enable

non-case related contact with Totani), and romantic partner (defendant does not

dispute that he carried on an approximately two-decade long extramarital affair with

Totani).

        Evidence of Totani’s identification with defendant comes from Totani directly.

As discussed in the government’s motion, during the course of preparing for her grand

jury testimony, Totani told law enforcement officials that she would “die” for

defendant. R. 50 at 11. In a recorded jail call between Totani and an inmate, on

October 7, 2017, five weeks before Totani received letter immunity and eight months

before Totani testified in the grand jury, Totani referenced several people she

considered “family,” including “my Michael [defendant].” (emphasis added). 3

        The evidence is clear – and defendant does not truly dispute – that Totani is a

witness identified with an adverse party.

II.     The Government Should Be Permitted to Ask Totani Leading
        Questions on Direct Examination to Develop Her Testimony.

        As discussed in the government’s motion, the purpose behind asking Totani

leading questions during portions of her direct examination is based, in part, upon

the factual inconsistencies in her testimony, defendant’s substantive communications

with Totani about the Rosemont Billboards Deal during the course of the




3 Totani also described an individual named “Jamie Mika” as family. Mika, and the
information he provided to law enforcement after Totani testified in the grand jury and after
the grand jury returned an indictment in this case, is further discussed below.


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investigation (and, as discussed below, potentially post-indictment in violation of his

conditions of release), and Totani’s substantial bias towards defendant.

      The Court should reject defendant’s attempts to add a requirement of hostility

to a finding that a witness is identified with an adverse party and subject to leading

questions on direct examination. Contrary to defendant’s argument, (R. 57 at 6), a

party calling a witness identified with an adverse party need not establish “hostility”

to ask leading questions. The exceptions highlighted in Rule 611(c) are framed in the

disjunctive, not the conjunctive.     Fed. R. Evid. 611(c) (“When a party calls a

hostile witness, an adverse party, or a witness identified with an adverse party,

interrogation may be by leading questions.”) (emphasis added). Defendant failed to

respond to the government’s citation in its brief emphasizing that the very purpose

of Rule 611 was to “enlarge the categories of witness automatically considered to be

adverse without any further showing of hostility so that leading questions may be

used during their examination.” See R. 50 at 8 (citing 4-611 Weinstein’s Federal

Evidence § 611.06 (2015)). The case law bears that proposition out. Courts routinely

allow parties, including the government in a criminal prosecution, to ask witnesses

identified with an adverse party leading questions without any finding of hostility.

See United States v. O’Brien, 618 F.2d 1234, 1242 (7th Cir. 1981) (use of leading

questions at various stages of co-schemer and crucial witness was appropriate

without finding of hostility) and cases cited infra at 6.

      Defendant relies on United States v. McDonnell, No. 14 CR 12, 2014 WL

3545206, at *1 (E.D. Va. July 16, 2014), where the district court precluded the



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government from leading eight different family member witnesses during their direct

examination.    While the district court relied on the lack of hostility from the

defendant’s family members in denying the government’s motion, the record did not

reflect any witness, like Totani, with substantial ties to the defendant who was so

utterly dependent upon the defendant and had evidenced prior collaboration with the

defendant in connection with their testimony. As noted above, the government also

requested to lead eight witnesses (not one) and preclude the defense from asking

leading questions on cross-examination. Clearly, the government’s request here is

more narrowly tailored.

      Defendant also cites to United States v. Brown, 603 F.2d 1022, 1026 (1st Cir.

1979), but there, the First Circuit affirmed the district court’s sua sponte finding that

a government witness, who was close friends with the defendant, was hostile and

sought to accelerate the testimony “as coherently as possible.”             In Brown, the

government did not move to ask leading questions—the court ordered it on its own

based on the demeanor of the witness. Finally, in United States v. Dingle, No. 12-

30098, 2014 WL 6812457, at *2 (S.D. Ill. Dec. 3, 2014), the government moved to ask

leading questions of a cooperator on direct examination based both on the witness’

close relationship with the defendant and the witness’ hostility (non-abidance with a

cooperation agreement). On that basis, the court conditionally granted the motion

subject to an offer of proof outside the presence of the jury. Id. at *3.

      Defendant contends that the government should not be able to ask Totani

leading questions on direct examination because it was able to “develop her



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testimony” during the course of the investigation.                R. 57 at 6.       Defendant

misunderstands the purpose of Rule 611(c)’s reference to “develop[ing] the witness’

testimony.” The language does not refer to pre-trial investigation and access to the

witness, but the flow of the examination at trial. See United States v. Hansen, 434

F.3d 92, 105 (1st Cir. 2006) (“The Government’s [leading] questions were used

primarily to develop coherent testimony from [the witness identified with

defendant].”); United States v. Mulinelli-Navas, 111 F.3d 983, 990 (1st Cir. 1997), as

amended (May 23, 1997) (use of leading questions appropriate during direct

examination of cooperating “witness who was, at times, unresponsive or showed a

lack of understanding” in order “to lay a foundation for a line of questioning or to

assist in developing coherent testimony”); United States v. Haden, 116 F.3d 1483 at

*3 (7th Cir. 1997) (no abuse of discretion where district court permitted leading

questions to multiple witnesses on direct “to clarify ambiguities in witnesses’

testimony”). 4

       In his response, defendant falsely contends that the government did not obtain

new evidence after Totani testified in the grand jury that contradicted her statement.

R. 57 at 3. As defendant is aware, on February 22, 2019, Totani’s friend, Jamie Mika,

contacted the FBI after Totani testified in the grand jury and after defendant was




4 In fact, prosecutors often seek leave to lead victim witnesses on direct examination without
any showing or finding of “hostility” and for the purpose of clarifying testimony. See .e.g.,
United States v. Wright, 540 F.3d 833, 844-45 (8th Cir. 2008); United States v. Flute, 363 F.3d
676, 678-79 (8th Cir. 2004). Clearly, the issue in developing a witnesses’ testimony has
nothing to do with pre-trial access to a witness, but rather the clarity of the testimony for the
jury.
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indicted. 5 According to Mika, Totani explicitly acknowledged that she did not earn

the Rosemont Billboard Deal payments, informing him that she had to occasionally

take pictures of the Rosemont billboards to justify her receipt of the Eastern Advisors

money. Id. at 3. 6 Mika understood that Totani and defendant were manufacturing

a justification for the Eastern Advisors money. Id. As she prepared to testify in the

grand jury, Totani told Mika: “I gotta go do this for [defendant]. On paper we’re

making it look like I worked for [defendant] taking pictures of billboards.” Id. at 4.

       Mika further informed law enforcement that, as Totani was meeting with law

enforcement in preparation for her grand jury testimony, Mika lived with Totani and

defendant often visited Totani’s residence. Id. During those visits, Mika observed

defendant providing Totani with cash and the two would often separate for private

conversations. Id. Mika’s account is, in part, corroborated by Totani, who testified

before the grand jury about her contacts with defendant about the Rosemont

Billboards Deal and the investigation generally.

       The Mika 302 issue also raises questions about defendant’s post-indictment

contacts with Totani about the case. As discussed in the government’s motion, the

Court modified defendant’s conditions of release to permit contact between defendant

and Totani as long as they did not discuss the investigation. However, on October 13,

2019, five months after the Mika 302 was produced to defendant, in a recorded jail


5A redacted version of the FBI 302 Report of Investigation of Jamie Mika (the “Mika 302”) is
attached as Exhibit A. The government produced the report to defendant on May 24, 2019.

6 Totani testified in the grand jury that, every few months, she took photographs of the
Rosemont billboards at defendant’s direction. That claim is also belied by the government’s
evidence.
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call, Totani discussed Mika’s interview with the FBI. Totani said: “[Mika] went to

people. He tried to cut a deal.” Totani then said: “When I found out that there’s six

pages . . . I can’t read it until after the trial . . . .” Moments later in the call, Totani

discussed an argument that she had with Mika and said: “I have all the records of

exactly when [he] did it [spoke with the FBI] and it shows.” 7 Thus, not only is there

post-indictment evidence contradicting Totani’s account to the grand jury, but

defendant knew it, and so did Totani. Although, in the jail call, Totani incorrectly

references the number of pages of the 302 – it is four pages rather than six – the fact

that she knows about the FBI interview and that Mika reached out to the FBI and

claims to have in her possession “the records” is problematic, considering the only

person with access to the Mika 302 was defendant and defendant was (and still is)

subject to Court-ordered conditions of release precluding him from discussing the case

with Totani. 8 Even if Totani’s knowledge of the Mika interview does not violate

defendant’s conditions of release, the issue underscores the government’s need to fully

develop Totani’s testimony on direct examination with leading questions.


7 In addition, in a recorded jail call on January 13, 2020, Totani said that “M [defendant]
thinks they’re [the government] going to drop everything [the charges].” Totani then
referenced the trial date (September). This communication further reflects potential
communications between Totani and defendant in violation of the Court’s order and
conditions of release.

8 There is also a protective order imposed by the Court. R. 26. Pursuant to that order, all
materials provided by the government in connection with the case are subject to the
protective order and disclosure is limited to “authorized persons.” While persons who are
interviewed as potential witnesses and counsel for such witnesses are included as “authorized
persons,” Totani’s counsel has denied ever receiving the Mika 302 or discussing it with his
client prior to the October 13, 2019 jail call. Thus, to the extent Totani “[has] all the records”
and received them from defendant or reviewed the Mika 302 during a meeting with
defendant, defendant may have violated the protective order.


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       Defendant     highlights    Totani’s    participation    in   interviews     with   law

enforcement officials and her grand jury testimony. R. 57 at 2-3. Defendant fails to

highlight that, for approximately fifteen months after first being approached by law

enforcement, Totani: (1) refused to speak with law enforcement officials (asserting

her Fifth Amendment rights); and (2) regularly spoke with defendant about the

investigation and what they perceived to be the government’s focus—the Rosemont

Billboards Deal and Totani’s involvement, if any, in that deal. 9 Defendant also

ignores that Totani’s purported compilation and production of documents, (R. 57 at

2), includes Totani’s recovery of an independent contractor agreement with Eastern

Advisors long after she initially responded to a grand jury subpoena for records

without the document and only after defendant reminded her that it existed and

emailed the agreement to her.

       The government does not contend that Totani will necessarily have perjured

herself if she testifies consistently with her grand jury statement. 10 At this point, it



9 Defendant contends that Totani acknowledged that she never understood gifts and
payments made by Eastern Advisors to Totani (the purported loan payments) to be loans. R.
57 at 3. Defendant implicitly argues that Totani’s honest testimony about the payments not
being loans should preclude the government from asking leading questions on her direct.
However, Totani also informed law enforcement that, from the first time she spoke with
defendant about the investigation after she was subpoenaed in 2016, defendant assumed the
issue of interest to law enforcement was the Rosemont Billboards Deal, i.e., not the payments
to Totani that defendant had falsely labeled as loans from Eastern Advisors. Accordingly,
Totani’s honesty about the purported loans may simply reflect defendant’s failure to
anticipate all aspects of law enforcement’s investigation rather than Totani’s good faith.

10A witness perjures him or herself if he or she “gives false testimony concerning a material
matter with the willful intent to provide false testimony, rather than as a result of confusion,
mistake, or faulty memory.” United States v. Sims, 329 F.3d 937, 945 (7th Cir. 2003) (internal
quotations omitted).


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is unclear whether Totani would be willfully providing false testimony or if her

memory is faulty and she was susceptible to defendant’s influence.          However,

considering Totani’s overwhelming bias towards defendant (someone she said she

would “die” for), defendant’s role in repeatedly influencing Totani’s testimony

throughout the course of the investigation and prosecution, and the nature of Totani’s

expected testimony, which is inconsistent with the weight of the evidence, the

government submits that in order to fully develop Totani’s testimony and highlight

its issues to the jury, the Court should permit the government to ask Totani leading

questions during portions of her direct examination.

                                       Conclusion

      For the reasons set forth above, if the Court intends to rule pretrial on the

issue, the government respectfully requests that the Court allow the government to

treat witness Jerilyn Totani as a witness identified with an adverse party on direct

examination and ask her leading questions during portions of her testimony.



Date: July 13, 2020                      Respectfully submitted,


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